          Case 1:20-cv-08483-JPO Document 6 Filed 01/12/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DILENIA PAGUADA,
                                Plaintiff,
                                                                     20-CV-8483 (JPO)
                     -v-
                                                                           ORDER
 LAFRIEDA MEATS, INC.,
                                Defendant.


J. PAUL OETKEN, District Judge:

       Defendant was served on November 23, 2020. (Dkt. No. 5.) However, no appearance

has been entered on Defendant’s behalf, and no response to the complaint has been filed in the

allotted time. Plaintiff has not moved for a default judgment.

       Plaintiff is directed to notify the Court whether she intends to move for default judgment,

or if she has received any communication from Defendant or its counsel regarding a response to

the complaint.

       If Plaintiff fails by January 26, 2021, to either (1) file a letter concerning the status of the

case, or (2) move for default judgment against Defendant, the action may be dismissed for failure

to prosecute.

       Plaintiff is directed to serve a copy of this order by mail on Defendant.

       SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                               ____________________________________
                                                          J. PAUL OETKEN
                                                      United States District Judge
